      Case 7:20-cv-00395 Document 62-1 Filed on 02/03/21 in TXSD Page 1 of 1


                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   MCALLEN DIVISION

 UNITED STATES OF AMERICA,                          §
                                                    §
                            Plaintiff,              §
                                                    §
 v.                                                 §           CASE NO. 7:20-CV-395
                                                    §
 0.532 ACRES OF LAND, MORE OR LESS,                 §
 SITUATE IN STARR COUNTY,                           §
 STATE OF TEXAS; AND MARCOS                         §
 MUNIZ JR, et al.,                                  §
                                                    §
                           Defendants.              §



 ORDER FOR MOTION FOR A CONTINUANCE OF THE JOINT DISCOVERY/CASE
    MANAGEMENT PLAN AND THE INITIAL PRETRIAL AND SCHEDULING
            CONFERENCE PURSUANT TO FED. R. CIV. P. 26(f)



        The Court now considers the United States’ “Motion for Continuance of the Joint

Discovery/Case Management Plan and the Initial Pretrial and Scheduling Conference Pursuant to

Fed. R. Civ. P. 26(f).”

        Having considered the Motion, the Court finds the Motion has merit and should be

GRANTED.

        IT IS HEREBY ORDERED that the Joint Discovery/Case Management Plan be filed on

_______________, 2021 and the Initial Pretrial and Scheduling Conference is reset to

_________________________, 2021.

        SIGNED this _________ day of _______________, 2021.



                                               ________________________________________
                                               HONORABLE MICAELA ALVAREZ
                                               UNITED STATES DISTRICT JUDGE



                                              Page 1 of 1
                                   Order for Motion for a Continuance
